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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
                                                                 Case No.        2:13-CR-6070-SAB-1
 UNITED STATES OF AMERICA,
                                                                 CRIMINAL MINUTES
                                       Plaintiff,                DATE:           JULY 23, 2024
        -vs-

 KENNETH RICHARD ROWELL,                                         LOCATION: YAKIMA, WA

                                       Defendant.                REVOCATION OF SUPERVISED
                                                                 RELEASE HEARING



                                      CHIEF JUDGE STANLEY A.
                                              BASTIAN
          Michelle Fox                      01                                         Marilynn McMartin
      Courtroom Deputy                 Law Clerk               Interpreter               Court Reporter

                   Michael Murphy                                             Craig Webster

                Government Counsel                                           Defense Counsel
 United States Probation Officer: Kyle Mowatt

       [X ] Open Court                        [ ] Chambers                         [ ] Telecon/Video
Defendant present and in custody of the US Marshal.

Court addresses counsel.

C. Webster was appointed yesterday so requesting a continuance.

M. Murphy addresses the Court.

Court asks if the violations should sit until October.
       C. Webster indicates yes, at this time we need additional time to discuss the matter.

Court continues hearing to October 9, 2024 at 10:30 am.




[ X ] ORDER FORTHCOMING

 CONVENED: 9:30 A.M.            ADJOURNED: 9:40 A.M.           TIME: 10 MIN.           CALENDARED      [ X ]
